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            Exhibit A
                                                                                      Case 4:20-cv-05640-YGR                                           Document 1180-1                                 Filed 02/05/25                                       Page 2 of 2



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                  Document (Folder Title)                 Bates                  Bates                                          Time                                                                                                                                                     Context                Employees Acting at the         Determination (Priv - Yes;   Notes
                                                                                                                                                                                                                                                                                                                Direction of Counsel            Priv - No)



Gutierrez         PRIV-APL-EG_00067531            337      PRIV-APL-EG_00067531 PRIV-APL-         Bavaro, Sam   2024-05-30      17:32:26                                              Private channel #proj-         Withhold             AttorneyClient     Email chain reflecting                             Alex Chai (Apple in-house        No
                                                                                EG_00067534                                                                                           entitlements-enterprisekit-                                            legal advice from                                  counsel); Ling Lew (Apple in-
                                                                                                                                                                                      constellation - 2024-05-30                                             counsel regarding                                  house counsel); Norita Mengu
                                                                                                                                                                                      (UTC).pdf                                                              foreign regulatory issues                          (Apple in-house counsel); Nicole
                                                                                                                                                                                                                                                             in the European Union,                             Mirchandani (Apple in-houes
                                                                                                                                                                                                                                                             including DMA.                                     counsel)



Segal             PRIV-APL-EG_00047165            2015     PRIV-APL-EG_00047167 PRIV-APL-         Tam, Mike     2023-06-26      19:42:10                                              External Purchase Link (US)    Withhold             AttorneyClient;    Draft document                                     Ling Lew (Apple in-house        YES AND NO                   THIS DOCUMENT CONTAINS
                                                                                                                                                                                                                                                                                                                                                                             PRIVILEGED AND NON-
                                                                                EG_00047173                                                                                           Addendum - 6.26.2023.docx                           WorkProduct        reflecting legal advice                            counsel)
                                                                                                                                                                                                                                                                                                                                                                             PRIVILEGED INFORMATION.
                                                                                                                                                                                                                                                             from counsel regarding                                                                                          SHOULD BE PRODUCED WITH
                                                                                                                                                                                                                                                             injunction compliance                                                                                           PRIVILEGED INFORMATION
                                                                                                                                                                                                                                                             and U.S. link entitlement                                                                                       REDACTED
                                                                                                                                                                                                                                                             program eligibility
                                                                                                                                                                                                                                                             prepared in anticipation
                                                                                                                                                                                                                                                             or furtherance of
                                                                                                                                                                                                                                                             litigation




Segal             PRIV-APL-EG_00047220            2023     PRIV-APL-EG_00047225 PRIV-APL-         Tam, Mike     2022-01-12      23:23:35                                              Screen Shot 2022-01-12 at      Withhold             AttorneyClient;    Document related to                                Ling Lew (Apple in-house        NO
                                                                                EG_00047225                                                                                           3.23.33 PM.png                                      WorkProduct        legal advice from                                  counsel)
                                                                                                                                                                                                                                                             counsel regarding
                                                                                                                                                                                                                                                             foreign regulatory issues
                                                                                                                                                                                                                                                             in the Netherlands for
                                                                                                                                                                                                                                                             dating apps prepared in
                                                                                                                                                                                                                                                             anticipation or
                                                                                                                                                                                                                                                             furtherance of litigation




Segal             PRIV-APL-EG_00049808            2272     PRIV-APL-EG_00049858 PRIV-APL-         Tam, Mike     2022-02-09      06:26:00                           December 13, 2021 FINAL - Schedules 2 and 3 - 8   Withhold             AttorneyClient     Email chain providing       Draft contract language Jason Cody (Apple in-house     NO                           REDACTED LANGUAGE DOES
                                                                                                                                                                                                                                                                                                                                                                             NOT REVEL LEGAL ADVICE
                                                                                EG_00049877                                                                                          Feb 2022 - Clean.docx                                                   legal advice from           from attorney regarding counsel)
                                                                                                                                                                                                                                                                                                                                                                             OR REQUEST FO R LEGAL
                                                                                                                                                                                                                                                             counsel regarding draft     App Store Small                                                                     ADVICE
                                                                                                                                                                                                                                                             contract language from      Business Program.
                                                                                                                                                                                                                                                             attorney regarding App
                                                                                                                                                                                                                                                             Store Small Business
                                                                                                                                                                                                                                                             Program.
